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                            EXHIBIT A - TIMEKEEPER SUMMARY

                    (Interim Compensation by Individual for Interim Fee Period)

                                                                                                 Number
                         Position                                    Hours         Hourly
                                                     Fees Billed                                 of Rate
                         (Year of                                     billed     Rate Billed
  Timekeeper Name                    Department      in this Fee                                Increases
                           Bar                                     in this Fee   in this Fee
                                                     Application                               in this Fee
                        Admission)                                 Application   Application
                                                                                               Application

                          Partner     Finance &
Francis J. Lawall                                    $136,500        109.2         $1,250        None
                          (1985)     Restructuring
                          Partner     Finance &
David M. Fournier                                       $750           .6          $1,250        None
                          (1989)     Restructuring
                          Partner      Business
Jay A. Dubow                                            $250           .2          $1250         None
                          (1984)      Litigation
                          Partner       Tax &
Joshua S. Gelfand                                      $5,508         5.1          $1080         None
                          (2007)       Benefits
                          Partner      Business
Casselle A. Smith                                     $11,718         12.6          $930         None
                          (2012)      Litigation
Deborah Kovsky-           Partner     Finance &
                                                     $147,420        175.5          $840         None
Apap                      (2003)     Restructuring
Marcy J. McLaughlin      Associate    Finance &
                                                       $2,016         2.4           $840         None
Smith                     (2015)     Restructuring
                         Associate    Finance &
Kenneth A. Listwak                                     $1,245         1.5           $830         None
                           (2016)    Restructuring
                          Partner      Business
Sean P. McNally                                        $7,622         10.3          $740         None
                           (2003)     Litigation
                         Associate    Finance &
Tori L. Remington                                     $57,888         86.4          $670         None
                           (2020)    Restructuring
                         Associate
                                      Business
Dylan J. DeWitt           (not yet                    $11,446         19.4          $590         None
                                      Litigation
                         admitted)
                         Associate     Business
Jessica Ring                                            $236           .4           $590         None
                           (2022)     Litigation
                         Associate     Business
Joseph V. Toll                                         $5,428         9.2           $590         None
                           (2023)     Litigation
                         Associate     Business
Kelley E. Kane                                         $1,700         3.4           $500         None
                           (2017)     Litigation
                                      Finance &
Susan M. Henry           Paralegal                     $4,368         35.3          $390         None
                                     Restructuring
                                      Finance &
Monica A. Molitor        Paralegal                    $40,833         80.6          $390         None
                                     Restructuring
                                       TOTALS:        434,928        552.1
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    EXHIBIT B - SUMMARY OF COMPENSATION BY PROJECT CATEGORY

        (Summary of Compensation Incurred During Interim Fee Period)

                                                                             Total       Total
   Project
                                 Project Category Description                Hours    Compensation
Category Code
                                                                             Billed      Billed
    B110        Case Administration                                          23.4        $10,841
    B112        General Creditor Inquiries                                    1.4         $1,062
    B113        Pleadings Review/Memos                                        4.1         $2,923
    B120        Asset Analysis and Recovery                                    .8         $847
    B130        Asset Sales/Disposition                                      21.9        $19,521
                Meetings of and Communications with Creditors’
    B150                                                                     23.5        $16,788
                Committee
    B155        Court Hearings                                               21.6        $17,688
    B160        Fee Applications (Applicant)                                 68.1        $33,329
    B165        Fee Applications - Others                                    21.9        $11,302
    B170        Retention Applications (Applicant)                            5.6         $2,397
    B175        Retention Applications- Others                                 5          $3,585
    B185        Assumption/Rejection of Contracts                             3.7         $3,524
    B186        Assumption/Rejection of Contracts                             1.3         $1,074
    B190        Other Contested Matters                                      17.3        $11,497
    B191        General Litigation                                           50.7        $42,334
    B210        Business Operations                                            .2         $134
    B211        Financial Reports                                              .7         $588
    B220        Employee Benefits/Pensions                                     .7         $588
    B221        Employment Contracts/Issues                                  28.8        $24,704
    B230        Financing/Cash Collateral                                     1.8         $2,250
    B261        Investigations                                                 .3         $218
    B310        Claims Administration and Objections                         31.4        $26,580
    B320        Plan and Disclosure Statement                                197.7       $187,920
    B410        General Bankruptcy                                             .5         $295
    B430        Adversary Proceedings & Bankruptcy Court Litigation          19.2        $12,314
    B440        Schedules and Statements                                       .5         $625
                                                                TOTALS:      552.1       $434,928
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                EXHIBIT C - SUMMARY OF EXPENSES BY CATEGORY

                (Summary of Expenses Incurred During Interim Fee Period)


      EXPENSE DESCRIPTION                         VENDOR/PROVIDER                 AMOUNT

Production, Efiling, Courier, and
                                       Parcels Inc., Reliable                     $245.84
Mailing Charges

                                       Transportation costs for D. Kovsky-
                                       Apap and F. Lawall for travel to New
Travel Expenses                                                                   $769.45
                                       York (meeting with Debtors and
                                       Equity Committee)
Electronic Docket Searches/ Internet
                                       PACER Service Center                       $354.70
web sites
                                       Working meals for D. Kovsky-Apap
                                       and F. Lawall while travelling to New
Working Meals                                                                      $25.00
                                       York (meeting with Debtors and
                                       Equity Committee)

Miscellaneous                          Internet charge during travel               $13.00

Hearing Transcripts                    Reliable                                    $64.80

                                                                       TOTAL      $1,472.79
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                                                  EXHIBIT D

              CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES




                                                                                            BLENDED HOURLY
                                                           BLENDED HOURLY
                                                                                             RATE FIRM-WIDE
                   POSITION                                 RATE FOR THIS
                                                                                              FOR PRECEDING
                                                           FEE APPLICATION
                                                                                            FISCAL YEAR 20221
    Partner                                                      $988.10                           $1,036
    Associate                                                    $658.50                            $639
    Paralegal                                                      $390                             $307
    Case Management Assistant/Legal
                                                                    $0                              $136
    Practice Assistant/Project Assistant
    AGGREGATE BLENDED HOURLY
    RATE FOR THIS FEE APPLICATION:
                                                                $787.772                            $530




1
      The hourly billable rates for Troutman Pepper Hamilton Sanders LLP timekeepers are adjusted on January 1st of
      each year. In addition, the data in this column excludes FY2022 blended hourly rate information for the
      Bankruptcy and Finance & Restructuring group at Troutman Pepper Hamilton Sanders LLP as well as
      engagements at materially discounted rates.

2
      As set forth herein and in the order approving the Applicant’s retention, the Applicant has agreed to a blended
      hourly rate of $750 for this retention, subject to Applicant’s right to seek payment of the difference, if any,
      between $750 and Applicant’s actual blended hourly rate. This amount reflects the non-discounted blended rate.
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                          EXHIBIT E – BUDGET AND STAFFING PLAN

                Project Category Budget – Troutman Pepper Hamilton Sanders LLP –
                                    During Interim Fee Period1

      Project         Project Category Description        Low         High         Low Total        High Total
     Category                                             Hours       Hours       Compensation     Compensation
       Code
       B110         Case Administration, Activities in     150          175          $112,500         $131,250
                          Multiple Categories
       B111         Statement of Financial Affairs and      25          40           $18,750           $30,000
                                Schedules
    B112, B113,       Creditor Inquiries, Review of        250          400          $187,500         $300,000
    B190, B191      Pleadings, Contested Matters and
                     Motions, and General Litigation
       B140                 Relief from Stay                30          50           $22,500           $37,500
       B150               Creditors’ Committee              35          60           $26,250           $45,000
       B155                  Court Hearings                 30          45           $22,500           $33,750
    B160, B165,    Employment/Retention, Objections         40          60           $30,000           $45,000
    B170, B175      to Employment/Retention, and Fee
                               Applications
       B185        Assumption/Rejection of Leases and       15          25           $11,250           $18,750
                                Contracts
    B210, B211,       Business Operations, Financial        75          125          $56,250           $93,750
    B212, B220,     Reports, Vendor Issues, Employee
    B240, B241      Benefits/Pensions, Tax Issues, and
                              Utility Issues
       B310        Claims Administration & Objections       20          35           $15,000           $18,750
    B130, B320        Asset Disposition, Disclosure        200          275          $150,000         $206,250
                     Statement, Solicitation, Plan and
                             Confirmation
                                             TOTALS:       870         1,290         $652,500         $967,500




1
       The budget may be amended to reflect changed circumstances or unexpected developments. Any such amended
       budget will be provided to the Committee. All dollar amounts are calculated assuming a blended hourly rate of
       $750.
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                                                  (Staffing Plan)

                                            NUMBER OF
           CATEGORY OF
                                           TIMEKEEPERS
            TIMEKEEPER                                                  AVERAGE 2023 HOURLY RATE FOR
                                        EXPECTED TO WORK
          (using categories                                             TIMEKEEPERS EXPECTED TO WORK
                                         ON THE MATTER
             maintained                                                        ON THE MATTER*
                                        DURING THE BUDGET
            by the firm)
                                             PERIOD1

               Partner2                             3                                   $1,020

              Associate3                            2                                    $630

              Paralegal4                            2                                    $390



* As set forth in the order approving the Applicant’s retention, the Applicant has agreed to a blended hourly rate of
$750 for this retention, subject to Applicant’s right to seek payment of the difference, if any, between $750 and
Applicant’s actual blended hourly rate.




1
    Note that this reflects primary timekeepers staffed on this engagement. Additional timekeepers may be called upon
    from time to time to handle discrete matters.

2
    Kovsky-Apap ($840); McNally ($740); Lawall ($1,250).
3
    Ring ($590); Remington ($670).

4
    Henry ($390); Molitor ($390).
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                            EXHIBIT F – ADDITIONAL DISCLOSURES




    Are rates in interim fee application higher than those approved or
                                                                                              No
    disclosed at retention?

    Total compensation5 sought in this Application                                       $436,400.79

    Total compensation sought in this Application approved to date
                                                                                         $238,005.79
    pursuant to the Compensation Procedures Order

    Total compensation sought in this Application already paid
                                                                                         $238,005.79
    pursuant to the Compensation Procedures Order

    Total compensation sought in this Application not yet paid                           $198,395.00

    Number of professionals included in this Application                                      16

    If applicable, number of professionals in this Application not
                                                                                               9
    included in the Staffing Plan

    If applicable, difference between fees budgeted and fees incurred             Fees incurred are below the
    for the interim compensation period                                           budgeted range.




5
      Total compensation includes both fees and expenses incurred by Troutman Pepper.


                                                        2
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             EXHIBIT G - CERTIFICATION




                           3
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                              Chapter 11

    LORDSTOWN MOTORS CORP., et al.,1                    Case No. 23-10831 (MFW)

              Debtors.                                  (Jointly Administered)


        CERTIFICATION REGARDING SECOND INTERIM FEE APPLICATION
      REQUEST OF TROUTMAN PEPPER HAMILTON SANDERS LLP, AS COUNSEL
           TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

             1.     I am a partner at the law firm of Troutman Pepper Hamilton Sanders LLP

(“Troutman Pepper”), which maintains offices at, among other locations, 875 Third Avenue, New

York, New York 10022. I am a member in good standing of the Bars of the States of New York,

New Jersey and Michigan and I have been admitted to practice in each of those states. I am also

admitted pro hac vice in the above-captioned cases. There are no disciplinary proceedings pending

against me.

             2.     I am making this certification regarding the Second Interim Application of

Troutman Pepper Hamilton Sanders LLP as Counsel to the Official Committee of Unsecured

Creditors for Allowance of Compensation and Reimbursement of Expenses Incurred for the Period

from October 1, 2023 Through and Including December 31, 2023 (the “Application”) to certify to

certain matters addressed in the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Chapter 11 Professionals and Committee Members [Docket No.

181] (the “Compensation Procedures Order”).




1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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       3.      Specifically, I have reviewed the Application, including the monthly fee

applications relating to the interim fee period covered by the Application, and I hereby certify that

such applications comply with the Compensation Procedures Order and the applicable provisions

of the Bankruptcy Code, the Bankruptcy Rules and the Local Rules. In addition, I hereby certify

that, in accordance with the Compensation Procedures Order, and in connection with preparing the

Application, Troutman Pepper has made a reasonable best effort to comply with the U.S. Trustee’s

requests for information and additional disclosures set forth in the U.S. Trustee Guidelines For

Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C.

§ 330 (Appendix B to 28 C.F.R. §58) (the “U.S. Trustee Guidelines”). In accordance with the U.S.

Trustee Guidelines, Troutman Pepper responds to the questions set forth in Section C.5 of the U.S.

Trustee Guidelines as follows:

A.     Did you agree to any variations from, or alternatives to, your standard or customary billing
       rates, fees or terms for services pertaining to this engagement that were provided during
       the application period? If so, please explain.

       Answer: Consistent with the Application, Troutman Pepper shall, on a monthly basis,
       charge the lesser of (a) the blended rate of $750/hour for all timekeepers or (b) its standard
       hourly billing rates for professional services rendered for such applicable month (subject
       to the discount of approximately 25% for certain timekeepers, as stated in the Application).
       If the general unsecured creditors receive a recovery of at least 50% in these chapter 11
       cases, Troutman Pepper may apply to recover the difference (if any) between its standard
       billed rates and the blended rate, subject to further Court approval.

B.     If the fees sought in this fee application as compared to the fees budgeted for the time
       period covered by this fee application are higher by 10% or more, did you discuss the
       reasons for the variation with the client?

       Answer: Not applicable.

C.     Have any of the professionals included in this fee application varied their hourly rate based
       on the geographic location of the bankruptcy case?

       Answer: None of the professionals included in the Application varied their hourly rate
       based on the geographic location of the bankruptcy case.




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D.    Does the fee application include time or fees related to reviewing or revising time records
      or preparing, reviewing, or revising invoices? (This is limited to work involved in preparing
      and editing billing records that would not be compensable outside of bankruptcy and does
      not include reasonable fees for preparing a fee application.). If so, please quantify by hours
      and fees.

      Answer: No, the Application does not include time or fees related to reviewing or revising
      time records.

E.    Does this fee application include time or fees for reviewing time records to redact any
      privileged or other confidential information? If so, please quantify by hours and fees.

      Answer: The Application includes a limited amount of time related to reviewing and
      revising entries for privileged and confidential information, which is necessary to file the
      Application. Troutman estimates that this amount of time does not exceed 2 hours.

F.    Does the Application include any rate increases since the firm’s retention?

      Answer: The Application does not include any rate increases since the retention of
      Troutman Pepper.



Dated: February 14, 2024                            /s/ Deborah Kovsky-Apap
                                                    Deborah Kovsky-Apap




                                                3
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            EXHIBIT H – PROPOSED ORDER
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 11

    LORDSTOWN MOTORS CORP., et al.,1                                 Case No. 23-10831-MFW
                                                                     (Jointly Administered)
                                       Debtors.
                                                                     Related to Docket No. ______

             ORDER APPROVING SECOND INTERIM APPLICATION OF
         TROUTMAN PEPPER HAMILTON SANDERS LLP, AS COUNSEL FOR
     THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
      FROM OCTOBER 1, 2023 THROUGH AND INCLUDING DECEMBER 31, 2023

                    Upon consideration of the Second Application of Troutman Pepper Hamilton

Sanders LLP, as Counsel for the Official Committee of Unsecured Creditors for the Period from

October 1, 2023 Through and Including December 31, 2023 (the “Interim Application”)2 of

Troutman Pepper Hamilton Sanders LLP (“Troutman Pepper”) for entry of an order (this “Order”)

for allowance of compensation for services rendered and reimbursement of actual and necessary

expenses that Troutman Pepper incurred, all as more fully set forth in the Interim Application; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012, and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2), and this Court having found it may enter a final order consistent

with Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Interim Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and


1
       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
       Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
       address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
2
       Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Interim
       Application


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1409; and this Court having found that the relief requested in the Interim Application is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

found that Troutman Pepper’s notice of the Interim Application and opportunity for a hearing on

the Interim Application were appropriate and no other notice need be provided; and this Court

having reviewed the Interim Application; and this Court having determined that the requested

compensation and expense reimbursement set forth in the Interim Application is reasonable; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT

                   1.       The Interim Application is GRANTED on an interim basis in the amounts

set forth below, for services rendered and reimbursement of actual and necessary expenses

incurred during the period from October 1, 2023 through and including December 31, 2023.


                                                             Agreed           Agreed         Interim         Interim
     Compensation             Fees           Expenses
                                                            Reductions      Reductions         Fees         Expenses
        Period              Requested        Requested
                                                              (Fees)        (Expenses)      Approved        Approved

    10/1/23 – 12/31/23     $434,928.003      $1,472.79          $0.00          $0.00       $434,928.00      $1,472.79




                   2.       Troutman Pepper’s right to seek payment of any remaining balance on

account of its billing arrangement as set forth in the Order Authorizing the Employment and

Retention of Troutman Pepper Hamilton Sanders LLP, as Counsel to the Official Committee of

Unsecured Creditors Effective as of July 17, 2023 [Docket No. 294] is hereby reserved.




3
      This amount reflects the total fees incurred by Troutman Pepper during the application period. However, pursuant
      to the terms of its retention, Troutman Pepper requests payment of only $408,951.00 in fees at this time, and
      reserves the right to seek payment of the difference in the event that distributions to general unsecured creditors
      exceed 50%.

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               3.     Notice of the Interim Application, as provided therein, shall be deemed

good and sufficient notice of such Interim Application and the requirements of Bankruptcy Rule

6004(a) and the Local Rules are satisfied by such notice.

               4.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

Order are immediately effective and enforceable upon its entry.

               5.     The Debtors are authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Interim Application.

               6.     This Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.




                                                4
